Case 4:02-cr-00088-ALM-CAN            Document 599        Filed 10/12/10      Page 1 of 5 PageID #:
                                             832




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

 UNITED STATES OF AMERICA                      §
                                               §       CRIMINAL NO. 4:02cr88(8)
 v.                                            §
                                               §
 ANDRE RETAY TONEY                             §

                            REPORT AND RECOMMENDATION
                         OF UNITED STATES MAGISTRATE JUDGE

        Pending before the Court is the request for revocation of Defendant’s supervised release.

 After the District Court referred the matter to this Court for a report and recommendation, the Court

 conducted a hearing on October 7, 2010, to determine whether the Defendant violated his supervised

 release. The Defendant was represented by Robert Arrambide. The Government was represented

 by Tracey Batson.

        On July 2, 2003, Defendant was sentenced by the Honorable Paul Brown, United States

 District Judge, to a sentence of 92 months imprisonment followed by a 4-year term of supervised

 release for the offense of conspiracy to manufacture, distribute, possess, and dispense cocaine base

 (crack) marijuana. On November 20, 2006, the matter was reassigned to the Honorable Richard A.

 Schell, United States District Judge. Defendant began his term of supervision on August 21, 2009.




                                                   1
Case 4:02-cr-00088-ALM-CAN            Document 599         Filed 10/12/10      Page 2 of 5 PageID #:
                                             833



        On September 7, 2010, the U.S. Probation Officer filed a Petition for Warrant or Summons

 for Offender under Supervision (Dkt. 589). The petition asserts that Defendant violated the

 following conditions of supervision: (1) Defendant shall not commit another federal, state, or local

 crime; (2) Defendant shall refrain from any unlawful use of a controlled substance, and Defendant

 shall submit to one drug test withing 15 days of release from imprisonment and at least two periodic

 drug tests thereafter, as directed by the probation officer; (3) Defendant shall refrain from excessive

 use of alcohol and shall not purchase, possess, use, distribute, or administer any narcotic or other

 controlled substance or paraphernalia related to such substances, except as prescribed by a physician;

 (4) Defendant shall work regularly at a lawful occupation, unless excused by the probation officer

 for schooling, training or other acceptable reasons; (5) Defendant shall participate in a program of

 testing and treatment for drug abuse, under the guidance and direction of the U.S. Probation Officer,

 until such time as Defendant is released from the program by the probation officer; (6) under the

 guidance and direction of the U.S. Probation Office, Defendant shall participate in any combination

 of psychiatric, psychological, or mental health treatment as deemed appropriate by the treatment

 officer; and (7) Defendant shall pay a fine in the amount of $2,000, the payment is to begin

 immediately, and any amount that remains unpaid when Defendant is placed on supervision is to be

 paid on a monthly basis at the rate of at least 10% of Defendant’s monthly gross income, to be

 changed during supervision if needed, based on Defendant’s changed circumstances, pursuant to 18

 U.S.C. 3664(k).




                                                   2
Case 4:02-cr-00088-ALM-CAN              Document 599       Filed 10/12/10      Page 3 of 5 PageID #:
                                               834



        The petition alleges that Defendant committed the following violations: (1) On May 11,

 2010, Defendant was arrested by the Sherman Police Department and charged with evading arrest

 detention with vehicle, a state jail felony, he was released on May 13, 2010, on a $5,000 surety bond,

 and, as of September 7, 2010, the case has not been presented to grand jury for indictment; (2) on

 March 11, May 5, and June 17, 2010, Defendant submitted urine specimens that tested positive for

 cocaine; (3) on July 21, 2010, Defendant submitted a urine specimen that tested positive for cocaine

 and marijuana; (4) since Defendant’s supervision began on August 21, 2009, he failed to work

 regularly at a lawful occupation; (5) Defendant failed to submit to random drug testing at WNJ

 Workmed, 501 N. Highland, Suite 300, Sherman, Texas, on April 5 & 16, May 3 & 10, 2010, and

 June 7, 9 & 30, 2010; (6) Defendant failed to attend individual counseling sessions on February 18,

 June 17 & 24, and July 10 & 23, 2010 at Pillar Counseling, 120 S. Crockett Street, Sherman, Texas,

 as instructed, and he failed to attend psychiatric consultations regarding his medications at Dr.

 Thomas Grugle, 275 West Campbell Road, Suite 121, Richardson, Texas, on December 1, 2009, and

 June 29, 2010, as instructed; and (7) Defendant has failed to make regular monthly payments toward

 his fine, has not made a payment since his supervision began, and, as of September 7, 2010, the

 outstanding balance was $1,825.

        At the hearing, Defendant entered a plea of true to the alleged violations of conditions of his

 supervised release. Defendant waived his right to allocute before the district judge and his right to

 object to the report and recommendation of this Court. The Court finds that Defendant has violated

 the terms of his supervised release.




                                                   3
Case 4:02-cr-00088-ALM-CAN            Document 599         Filed 10/12/10      Page 4 of 5 PageID #:
                                             835



                                       RECOMMENDATION

        Pursuant to the Sentencing Reform Act of 1984 and having considered the agreement reached

 by the parties as to the proposed sentence, the Court recommends that Defendant be committed to

 of the Bureau of Prisons to be imprisoned for a term of 20 months to be served consecutively to any

 state sentence being served, with 28 months of supervised release to follow, except if Defendant

 fully pays his $1,825 fine during his period of incarceration, then any term of supervised release

 should be extinguished. The Court further recommends that Defendant’ term of imprisonment be

 carried out in the Bureau of Prisons facilities in Seagoville, Texas, if appropriate.

        It is further recommended that Defendant be ordered to pay a fine of $1,825. The fine should

 be due immediately, payable by cashier’s check or money order, to the United States District Court

 and forwarded to the United States District Clerk’s Office, P. O. Box 570, Tyler, Texas 75710. Any

 amount that remains unpaid when Defendant’s supervision commences is to be paid on a monthly

 basis at a rate of at least 10% of Defendant’s gross income, to be changed during supervision, if

 needed, based on Defendant’s changed circumstances, pursuant to 18 U.S.C. § 3572(d)(3).

 Additionally, at least 50% of receipts received from gifts, tax returns, inheritances, bonuses, lawsuit

 awards, and any other receipt of money (to include, but not limited to, gambling proceeds, lottery

 winnings, and found money) must be paid toward the unpaid fine balance within 15 days of receipt.

 The fine is payable by cashier’s check or money order made out to the United States District Court

 and forwarded to the Fine and Restitution Section, U.S. Courts, P. O. Box 570, Tyler, Texas 75710.

 Interest should be waived.




                                                   4
    Case 4:02-cr-00088-ALM-CAN            Document 599         Filed 10/12/10      Page 5 of 5 PageID #:
                                                 836



            If Defendant’s fine is not fully paid during his incarceration, it is recommended that

     Defendant serve 28 months of supervised release. Within 72 hours of release from the custody of

     the Bureau of Prisons, Defendant should be required to report in person to the probation office in the

     district to which Defendant is released and to comply with the following conditions.

            While on supervised release, Defendant shall not commit another federal, state, or local

     crime, and shall comply with the standard conditions that have been adopted by the Court, and shall

     comply with the following additional conditions:

            Defendant shall provide the probation officer with access to any requested financial

     information for purposes of monitoring his efforts to obtain and maintain lawful employment.

            Defendant shall participate in a program of testing and treatment for drug abuse, under the

     guidance and direction of the U.S. Probation Office, until such time as Defendant is released from

     the program by the probation officer.

            Under the guidance and direction of the U.S. Probation Office, Defendant shall participate

.    in any combination of psychiatric, psychological, or mental health treatment as deemed appropriate

     by the treatment provider.

            Defendant shall submit to one drug test within 15 days of release from imprisonment and at

     least two periodic drug tests thereafter, as directed by the probation officer.

            SIGNED this 11th day of October, 2010.

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                                                    ____________________________________
                                                    DON D. BUSH
                                                    UNITED STATES MAGISTRATE JUDGE
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